Case 2:05-cV-02069-.]P|\/|-de Document 18 Filed 07/29/05 Page 1 of 3 Page|D 20

 

IN THE UNITEI) sTATEs DISTRICT CoURT F”-ED BY ..@ n.c.
FoR THE WESTERN DISTRICT oF TENNESSEE
WESTERN DIVISION 05 JUL 29 PH 3= r,g
THOMAS M.
PAT JoHNsoN ) CLER,K 1113 "WGVQ%%UHT
) Civil Action NO.; 05-2069 MA ml_ WD \l»*' atf thtS

v. )
)
RELIANCE STANDARD )
LIFE INSURANCE CoMPANY )

 

1 ORDER GRANTING DEFENDANT RELIANCE STANDARD LIFE
INSURANCE COMPANY'S MOTION FOR MODIFICATION OF APRIL 21, 2005
SCHEDULING OR])ER

 

It appearing to the Court that Defendant Relianee Standard Life Insu.rance Cornpany and
Plaintiff, Pat Johnson, are in agreement that the April 21, 2005 Scheduling Order should be
modified as requested: l

IT IS, THEREFORE, ORDERED that this Court's April 2l, 2005 Scheduling Order shall

be modified as follows:

4. d. Reliance contends that this matter should be decided on Motions for
Surnmary Judgment and proposes that all dispositive motions must be filed Within
two Weeks of the entry of the Court's Order deciding Defendant's Motion to
Dismiss Plaintift‘s Amended Complaint.

Dated: ?/u.é¢\ ,77? ¢QJ/; ' 4
d By:/@¢/{M(_/C, % /%¢/(’M

United States Magistrate Judge

M BC1893871\'1

2790914-000002 07/27/05 Thts document entered on the docket hit ln coypttance
with Ru|e 58 and/or 79(3) FHGP on fi:Q,l_

Case 2:05-cV-O2069-.]P|\/|-de Document 18 Filed 07/29/05 Page 2 of 3 Page|D 21

CONSENTED TO AND APPROVED FOR ENTRY:

§§MWW%

Leigh M. Chiles

BAKER, DONELSON, BEARMAN
CALDWELL & BERKOWITZ, P.C.
First Tennessee Building

165 Madison Avenue, Suite 2000
Memphis, TN 38103

 

Attorney for Reliance Standard
Life Insurance Company

M BC1893871vl
2790914-000002 07/27/05

STATES DISTRICT OURT - ESTNER ISRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:05-CV-02069 Was distributed by faX, mail, or direct printing on
.1 uly 29, 2005 to the parties listed

 

 

.1 immy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT
140 Adams Ave.

Rm. 224

1\/1emphis7 TN 38103

S. Russell Headrick

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ- Memphis
165 Madison Ave.

Ste. 2000

1\/1emphis7 TN 38103

Leigh McDaniel Chiles

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ- Memphis
165 Madison Ave.

Ste. 2000

1\/1emphis7 TN 38103

.1 olin M. Bailey

LAW OFFICES OF JOHN 1\/1. BAILEY
5978 Knight Arnold

Ste. 400

1\/1emphis7 TN 38115

Honorable .1 on McCalla
US DISTRICT COURT

